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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
In re

Edwin Martinez and Migdalia Martinez
                                                 CHAPTER        7
                                                 CASE NO.       8:11-bk-05292-CPM
      Debtor(s)
______________________________/

 ORDER GRANTING MOTION FOR RELIEF FROM STAY (DOC. NO. 20) FILED BY
   JPMORGAN CHASE BANK, NATIONAL ASSOCIATION REGARDING REAL
                           PROPERTY
        THIS CAUSE came on for consideration upon the Motion For Relief From Stay
regarding REAL PROPERTY LOCATED AT: 3424 YALE CIR, RIVERVIEW, FL 33578

LEGALLY DESCRIBED AS: LOT 12, BLOCK 1, IVY ESTATES UNIT NO. 2, AS PER

PLAT THEREOF, RECORDED IN PLAT BOOK 45, PAGE 74, OF THE PUBLIC RECORDS

OF HILLSBOROUGH COUNTY, FLORIDA. (“Collateral”) filed by JPMORGAN CHASE

BANK, NATIONAL ASSOCIATION ("Creditor"). The Creditor served the Motion on

interested parties by negative notice pursuant to Local Rule 2002-4. Neither the Debtor(s)nor the

Trustee filed a response to the Motion. Therefore, the Court deems the matter unopposed.

Accordingly, it is

        ORDERED as follows:

        1.     Creditor’s Motion For Relief From Stay is granted.

        2.     The automatic stay imposed by 11 U.S.C. Section 362 is hereby terminated to

permit Creditor to commence, or recommence as the case may be, prosecute, and complete

through final judgment, sale and issuance of a Writ of Possession and Certificate of Title a

mortgage foreclosure action in state court with respect to the (“Collateral”) described as: REAL

PROPERTY LOCATED AT: 3424 YALE CIR, RIVERVIEW, FL 33578 LEGALLY

DESCRIBED AS: LOT 12, BLOCK 1, IVY ESTATES UNIT NO. 2, AS PER PLAT

THEREOF, RECORDED IN PLAT BOOK 45, PAGE 74, OF THE PUBLIC RECORDS OF

HILLSBOROUGH COUNTY, FLORIDA..
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        3.      The relief granted here permits the Creditor to seek and obtain in rem relief

against the collateral/property only and does not permit the Creditor to seek or obtain in

personam relief against the Debtor(s).

        4.      That the provisions of Bankruptcy Rule 4001(a)(3) are waived and the Order

shall be in full force and effect upon signature of this Court.
                                                                  June 13, 2011
        DONE and ORDERED at Tampa, Florida, on _____________________.




                                               _________________________________
                                               Catherine Peek McEwen
                                               United States Bankruptcy Judge

Copies Furnished To:
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